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                                                                                                                    787 Seventh Avenue
                                                                                                                    New York, NY 10019-6099
                                                                                                                    Tel: 212 728 8000
                                                                                                                    Fax: 212 728 8111




    July 14, 2020

    Honorable John F. Keenan
    United States District Judge
    United States District Court for the Southern District of New York
    500 Pearl Street
    New York, New York 10007

    Re:       BSG Resources (Guinea) Limited, et al. v. George Soros, et al., No. 1:17-cv-02726 (JFK)

    Dear Judge Keenan:

           We represent Defendants in this action, which has been stayed in favor of an arbitration
    between Plaintiffs and the Republic of Guinea (“Guinea”) before the International Centre for
    Settlement of Investment Disputes (the “ICSID Arbitration”). In advance of the status conference with
    the Court set for July 28, 2020, we write to explain why three developments since we were last before
    this Court warrant continuation of the stay or, in the alternative, dismissal of this action entirely.

             First, the parties to the ICSID Arbitration reportedly reached a settlement in principle and
    agreed more than a year ago to stay that action. If the ICSID Arbitration ultimately settles, public
    reports indicate that Beny Steinmetz, the principal of Plaintiffs, will gain mining rights that Plaintiffs
    claim they were deprived in this action, thus obviating the need for further proceedings or at least
    significantly narrowing their scope. If the ICSID Arbitration does not settle, then it will proceed to
    judgment, and BSGR should not be rewarded for circumventing this Court’s stay by pausing the ICSID
    Arbitration for over a year. Either way, this action should not proceed until it becomes clear what, if
    anything, is left of it after the arbitration settlement.

             Second, one of the key reasons for a stay in the first instance was the potential res judicata
    impact of an adverse judgment against Plaintiffs from the ICSID Arbitration. But the Court no longer
    needs to look to the ICSID Arbitration to conclude that Plaintiffs’ claims are barred. Since the
    initiation of the stay in this action, a separate, previously confidential arbitration before the London
    Court of International Arbitration (the “LCIA Arbitration”) resulted in an award against Plaintiff BSG
    Resources Limited (“BSGRL”) finding that it engaged in bribery and corruption to procure Plaintiffs’
    mining rights in Guinea – i.e., the exact same questions at issue in this case and the ICSID Arbitration.
    The findings of bribery and corruption in the LCIA Arbitration collaterally estop Plaintiffs from




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pursuing their claims and require dismissal of this action. The Court should hear that legal issue before
allowing Plaintiffs’ claims to proceed.

        Beyond the LCIA Arbitration, the evidence of Plaintiffs’ criminal conduct continues to mount.
On August 13, 2019, prosecutors in Switzerland indicted Beny Steinmetz, the founder and controller of
Plaintiffs, for bribery and corruption related to the same conduct (procuring mining rights in Guinea).
(See Ex. 1.) Swiss prosecutors arrested Steinmetz and two co-defendants on the grounds that they paid
$10 million in bribes to one of the wives of former Guinean president Lansana Conté to secure the
mining rights at issue in this case, and then concealed those bribes.1 (Id.)

        Third, Plaintiff BSGRL filed a Chapter 15 petition in the Bankruptcy Court for the Southern
District of New York, which counsel for Plaintiffs told this Court “could have a material bearing on
whether and how this case proceeds.” (Letter from L. Solomon to Judge Keenan, dated June 20, 2019,
ECF No. 153.) If BSGRL is unable to succeed in its Chapter 15 case, this action may be dismissed
entirely, further weighing in favor of retaining the stay to avoid unnecessary and wasteful litigation.

I.     Recent Developments

       A.       ICSID Arbitration

        By July 9, 2018, all argument and evidence was submitted in the ICSID Arbitration, and all that
remained was for the tribunal to issue an award. (See ECF No. 151.) Before the tribunal was able to do
so, however, Plaintiffs and Guinea announced that they had reached an agreement in principle to settle
the ICSID Arbitration. (Ex. 2.) The parties subsequently requested that the ICSID tribunal stay the
proceeding to give the parties an opportunity to finalize the settlement, which the tribunal granted on
April 30, 2019.2 (See Ex. 3.) Since then, the ICSID Arbitration has remained stayed. Public reports
state that the settlement provides for Beny Steinmetz, the principal of Plaintiffs, to gain rights to
certain mining deposits that Plaintiffs claim they were deprived, and which form the basis for their
claimed damages in this action. (Ex. 2.) It is also reported that a term of the settlement is that
Plaintiffs will terminate this action. (Ex. 4.) Plaintiffs have not provided any documentation reflecting
the terms of the settlement.

       B.       LCIA Arbitration

      At the time motions to dismiss were briefed in this action, the terms of an arbitration before the
LCIA between BSGRL and Vale S.A. (“Vale”) had been confidential. However, after receiving a
judgment by the arbitration tribunal against BSGRL, on April 4, 2019, Vale filed an enforcement

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       One of these co-defendants, Frédéric Cilins, an agent of Plaintiffs, was previously convicted of obstruction of justice
       in the Southern District of New York in 2014 after he attempted to bribe Lansana Conté’s former wife into destroying
       documents evidencing Plaintiffs’ bribery scheme. See Tr. of Proceedings at 4:7-10, United States v. Cilins, No.
       1:13-cr-00315 (S.D.N.Y. Mar. 10, 2014), ECF No. 62; Judgment, United States v. Cilins, No. 1:13-cr-00315
       (S.D.N.Y. Jul. 29, 2014), ECF No. 71.
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       See BSG Resources Limited (in administration), BSG Resources (Guinea) Limited and BSG Resources (Guinea)
       SÀRL v. Republic of Guinea (ICSID Case No. ARB/14/22), Case Details,
       https://icsid.worldbank.org/en/Pages/cases/casedetail.aspx?CaseNo=ARB/14/22 (last visited July 13, 2020.)
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proceeding in this Court, which attached the LCIA award as an exhibit. The LCIA tribunal made
findings of bribery and corruption by BSGRL that collaterally estop Plaintiffs from pursuing their
bribery-based claims in this action.

        The LCIA Arbitration arises from joint venture agreements executed by BSGRL and Vale, a
mining company. (See Mem. at 4, Vale S.A. v. BSG Resources Limited, No. 19-cv-03619 (S.D.N.Y.
Apr. 24, 2019), ECF No. 5 (“Vale Mem.”).) The purpose of the joint venture was to capitalize on
Plaintiffs’ mining rights in Guinea. Vale claims it made significant investments in the joint venture
before Plaintiffs’ mining rights were rescinded by Guinea on the grounds that the rights had been
acquired through bribery and corruption. (Am. Compl. ¶¶ 156-59.) Vale then commenced the LCIA
Arbitration, asserting that BSGRL breached representations and warranties in the joint venture
agreements and fraudulently induced Vale to invest more than $1 billion in the mining concession.
(Vale Mem. at 5.)

        The LCIA tribunal unanimously found that BSGRL had induced Vale to enter into the joint
venture agreements through false statements, representations, and warranties that BSGRL procured
Plaintiffs’ mining rights legitimately. (Id. at 2.) With respect to the allegations of bribery and
corruption, the tribunal found that BSGRL obtained Plaintiffs’ mining rights by bribing Mamadie
Touré (“Mme. Touré”), the fourth wife of the former President Lansana Conté, both directly and
through intermediaries, including Pentler Holdings Limited (“Pentler”), an affiliate of BSGRL, and
Frédéric Cilins, a principal of Pentler. (See LCIA Award ¶¶ 642, 676.10, Vale S.A. v. BSG Resources
Ltd., No. 19-cv-3619-VSB (S.D.N.Y. Mar. 5, 2020), ECF No. 4-1.) BSGRL bribed Mme. Touré to
influence President Conté to revoke Rio Tinto’s rights over Simandou iron ore mine and grant those
rights to BSGRL instead. (Id.) Specifically, the tribunal determined that:

       •       BSGRL obtained its mining rights “corruptly” by “engag[ing] in bribery or
               corruption in relation to benefits granted to Mme. Touré.” (Id. ¶¶ 642, 676.10.)

       •       BSGRL “interposed an intermediary (Pentler) between itself and Mme. Touré so that
               Pentler could be used to grant shares in [BSG Resources (Guinea) Limited] to Mme.
               Touré” through a memorandum of understanding “executed to secure Mme.
               Touré’s assistance in influencing President Conté,” the President of Guinea at the
               time that BSGRL procured the mining rights. (Id. ¶¶ 595, 635.)

       •       “Mme. Touré did in fact exercise influence on President Conté in his decision-
               making in relation to Simandou,” (id. ¶ 634), as she assisted in influencing President
               Conté’s decision to revoke Rio Tinto’s [mining] rights and give them to [BSGRL],” (id.
               ¶ 631); and

       •       “[BSGRL] knew that the offer of shares [to Mme. Touré] . . . was for the purpose of
               securing [her] assistance in influencing President Conté.” (Id. ¶ 637 (emphasis
               added).)
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Based on these findings, the tribunal awarded Vale $1.246 billion in damages, plus pre- and post-
award interest and costs, totaling more than $2 billion.

        Vale subsequently filed a proceeding in the High Court of Justice, Business and Property
Courts of England and Wales, Commercial Court (QBD) (the “High Court”) under the UK Arbitration
Act for recognition and enforcement of the LCIA Award, which it granted on May 9, 2019. On
September 20, 2019, the High Court rejected BSGRL’s application to set aside or stay enforcement of
the LCIA Award, and, on November 29, 2019, it denied BSGRL’s procedural challenge to the LCIA
Award. This is a final judgment and not subject to appeal.

       Vale also filed a petition in this Court for recognition and enforcement of LCIA Award under
the Federal Arbitration Act. On March 5, 2020, Judge Broderick granted Vale’s petition, and issued a
$2,172,833,761.15 judgment in Vale’s favor. (Judgment, Vale S.A. v. BSG Resources Ltd., No. 19-cv-
3619-VSB (S.D.N.Y. Mar. 5, 2020), ECF No. 51.)

       C.      Chapter 15 Petition

        On June 3, 2019, in an attempt to forestall Vale’s enforcement petition, BSGRL, which had
previously filed for bankruptcy protection in Guernsey, filed a Chapter 15 petition in the Bankruptcy
Court for the Southern District of New York. (See Verified Chapter 15 Petition ¶¶ 1, 24, BSG
Resources Limited, No. 19-11845, ECF No. 5.) In the more than twelve months since it filed the
petition, BSGRL has kept the proceedings mired in discovery that remains incomplete, with Judge
Lane of the Bankruptcy Court noting the “woeful lack of progress as to discovery in this case.” (See
Discovery Order ¶¶ 2-11, BSG Resources Limited, No. 19-11845, ECF No. 69.) On February 13,
2020, Vale petitioned Judge Lane for the issuance of international letters of request seeking a
deposition and production of documents from Beny Steinmetz, among others, citing BSGRL’s failure
to sufficiently respond to Vale’s request for documents from Mr. Steinmetz in discovery. (See Letter
from L. Schweitzer to Judge Lane, at 1-2, No. 19-11845, ECF No. 83.) Judge Lane approved the
issuance of the letters of request. (See Order, No. 19-11845, ECF No. 87.)

         Substantively, the Chapter 15 petition seeks recognition of BSGRL’s insolvency procedure in
Guernsey (the “Guernsey Administration”). (Verified Chapter 15 Petition ¶ 2.) BSGRL says that it
commenced the Chapter 15 petition to protect its interest in this action, purportedly its only asset in the
United States. (Id. ¶ 25.) However, BSGRL’s interest in this action has been pledged as collateral to
secure BSGRL’s obligations under a Litigation Funding Agreement, which was put into place to fund
this action. (Id. ¶ 29.) Counsel for BSGRL in the Chapter 15 petition, as well as counsel for Plaintiffs
in this action, have acknowledged that the outcome of the Chapter 15 petition may have a material
effect on whether BSGRL continues to pursue the action. (See Ex Parte Application for TRO ¶¶ 48-
49, BSG Resources Limited, No. 19-11845, ECF No. 7; Letter from L. Solomon to Judge Keenan,
dated June 20, 2019, ECF No. 153.) If it turns out that Plaintiffs’ “litigation funder” loses the ability to
control this action, it is likely to be dismissed entirely.
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II.    The Stay Should Remain in Place, Or In The Alternative, The Court Should Dismiss This
       action.

        For the reasons set forth above, considerations of judicial economy and conservation of
resources counsel in favor maintaining the stay. The ICSID Arbitration will either finally settle or be
resolved, but in either event it will likely dispose of or significantly narrow the issues in this action. If
the settlement is finalized, this action may be dismissed as a condition of the agreement or result in the
reinstatement of mining interests to Plaintiffs, which would obviate the remedies they seek in this
action. On the other hand, if the parties fail to finalize a settlement, the ICSID Arbitration is likely to
reach an expeditious resolution, as all that remains is for the tribunal to issue a final award. The ICSID
Arbitration has been stayed for over a year at BSGR’s request, even though BSGR knew that this
Court’s stay was based on the expectation that the ICSID Arbitration would move toward judgment as
expeditiously as possible. BSGR should not be able to run out the clock on this Court’s stay order by
delaying adjudication in the ICSID Arbitration. Similarly, resolution of BSGR’s Chapter 15
proceeding may also result in dismissal of this action if the litigation funder loses its interest in the
action, which further counsels in favor of maintenance of the stay.

        If the Court decides to lift the stay, discovery should not commence until certain dispositive
legal issues are resolved. First, Defendants’ pending motion to dismiss has yet to be decided by this
Court. As set forth in that motion, the Amended Complaint should be dismissed in its entirety because
Plaintiffs’ claims are barred by the act of state doctrine, among other grounds.

        Second, the Amended Complaint is now subject to dismissal on the ground that Plaintiffs are
collaterally estopped by the LCIA Award because it “conclusively resolves the same set of facts” at
issue in this action. Wright v. Coughlin, No. 85-cv-0624, 1987 WL 19633, at *2 (S.D.N.Y. Nov. 5,
1987), aff’d, 868 F.2d 1268 (2d Cir. 1988). “[T]he core issue underlying Plaintiffs’ claims is whether
Guinea, induced by Defendants, breached a valid contract with BSGR, or whether the Convention and
BSGR’s mining rights were procured through corruption,” the very same factual issues decided in the
LCIA Award. (Stay Order, ECF No. 136 at 9.) Therefore, the LCIA tribunal’s finding that Plaintiffs
engaged in bribery and corruption to obtain mining rights in Guinea is dispositive of each of the claims
at issue here and warrants the application of collateral estoppel. See CBF Indústria de Gusa S/A v.
AMCI Holdings, Inc., 850 F.3d 58, 77 (2d Cir. 2017) (“It is settled law that the doctrine of issue
preclusion is applicable to issues resolved by an earlier arbitration.”). Each of Plaintiffs’ claims in this
action rely on the premise that Guinea, at the direction of Defendants, made false findings that
Plaintiffs corruptly secured their mining rights. Accordingly, in light of the LCIA tribunal’s
determination that BSGRL did, in fact, engage in bribery and corruption to procure Plaintiffs’ mining
rights in Guinea, Plaintiffs are estopped from arguing the opposite here. Defendants should be
permitted to brief this dispositive issue before discovery on issues that will be rendered moot.

Respectfully submitted,

/s/ Benjamin P. McCallen

Benjamin P. McCallen
